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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

----------------------------------------------------------------
REE WISITTASAK                                                  :
730 Moore Street                                                :
Philadelphia, PA 19148                                          :   CIVIL ACTION NO.
                                                                :
                  Plaintiff,                                    :   JURY TRIAL DEMANDED
                                                                :
         v.                                                     :
                                                                :
2509 SOUTH FOURTH OPERATING, LLC                                :
d/b/a ST. MONICA CENTER FOR                                     :
REHABILITATION & HEALTHCARE                                     :
701 Lansdale Avenue                                             :
Lansdale, PA 19446                                              :
                                                                :
                  Defendant.                                    :
---------------------------------------------------------------

                                      CIVIL ACTION COMPLAINT

         Plaintiff Ree Wisittasak. (“Plaintiff”), hereby brings this action against Defendant 2509

South Fourth Operating, LLC d/b/a St. Monica Center for Rehabilitation & Healthcare

(“Defendant”), and alleges as follows:

                                        NATURE OF THE ACTION

         1.       Plaintiff brings this complaint contending that Defendant has unlawfully failed to

pay her overtime compensation pursuant to the requirements of the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. § 201, et seq. and the Pennsylvania Minimum Wage Act (“PMWA”), 43

P.S. § 333.100, et seq. Plaintiff also avers that Defendant has unlawfully failed to pay her

“wages” as owed and due under the Pennsylvania Wage Payment and Collection Law

(“WPCL”), 43 P.S. § 260.1, et seq. Plaintiff further alleges that Defendant breached its contract

with Plaintiff to pay Plaintiff her agreed-upon wages. Finally, Plaintiff avers that Defendant
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unlawfully terminated Plaintiff in retaliation for her good faith complaint(s) of not being paid

overtime in violation of the FLSA.

       2.        During the course of her employment, Plaintiff regularly worked more than forty

(40) hours per week, but was not properly compensated for her work in that Plaintiff was not

paid an overtime premium at 1.5 times her regular rate of pay for each hour worked in excess of

forty (40) hours in a workweek in violation of the FLSA and PMWA.

       3.        Accordingly, Plaintiff contends that she is owed unpaid wages and overtime

compensation which was denied to her as a result of Defendant’s unlawful pay practices.

       4.        Plaintiff brings this action under the FLSA and PMWA for monetary damages

and penalties, to seek redress for Defendant’s willful, unlawful, and improper conduct.

                                  JURISDICTION AND VENUE

       5.        This Court has jurisdiction over this action pursuant to 29 U.S.C. § 216(b), which

provides, in relevant part, that suit under the FLSA “may be maintained against any employer . . .

in any Federal or State court of competent jurisdiction.” See 29 U.S.C. § 216(b).

       6.        This Court also has federal question jurisdiction over this action pursuant to 28

U.S.C. § 1331.

       7.        This Court has supplemental jurisdiction over Plaintiff’s state law claims because

those claims arise out of the same nucleus of operative fact as Plaintiff’s FLSA claims.

       8.        The venue in this district is proper pursuant to 28 U.S.C. § 1391(b), as the parties

reside in this judicial district, doing business therein, and the unlawful practices of which

Plaintiff is complaining were committed in this judicial district.




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                                               PARTIES

          9.       Plaintiff Ree Wisittasak, currently resides at 730 Moore Street, Philadelphia,

19148.

          10.      Defendant 2509 South Fourth Operating, LLC d/b/a St. Monica Center for

Rehabilitation & Healthcare, is a limited liability company organized and existing under the laws

of the Commonwealth of Pennsylvania, with a principal place of business and an address

registered with the Pennsylvania Secretary of State at 701 Lansdale Avenue, Lansdale, PA

19446.

          11.      Defendant is “private employer” who has an annual dollar volume of sales or

business done of at least $500,000 and/or who engages in interstate commerce and is covered by

the FLSA.

          12.      Plaintiff is an employee who has been employed by Defendant during all relevant

times hereto and, as such, is an employee entitled to the FLSA’s protections. See 29 U.S.C. §

203(e).

          13.      At all times relevant hereto, Defendant acted or failed to act through their agents,

servants, and/or employees thereto existing, each of whom acted at all times relevant hereto in

the course and scope of their employment with and for Defendant.

                                     FACTUAL BACKGROUND

          14.      Paragraphs 1 through 13 are hereby incorporated by reference as though the same

were fully set forth at length herein.

          15.      Plaintiff Ree Wisittasak, first began her employment with Defendant on or about

July 15, 2020, when she was hired as a Nurse Manager at Defendant’s location located at 2509 S.

4th Street, Philadelphia, PA 19148.



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        16.    As a Nurse Manager, Plaintiff’s primary job duties include filling out paperwork,

auditing Defendant, checking Defendant’s lab, notifying Defendant’s physicians regarding labs,

and, in the event that Defendant was short-staffed, acting as a Nurse on Defendant’s floor.

        17.    Plaintiff was required to punch in and out of work for each work day.

        18.    Plaintiff’s employment offer letter states, “[Plaintiff’s] rate of pay will be $40.00

hour.” See Plaintiff’s employment offer letter attached hereto as Exhibit A.

        19.    Therefore, Plaintiff was paid on an hourly basis.

        20.    As a result of being paid on an hourly basis, there are no exemptions under the

FLSA and/or PMWA which could arguably be applicable to Plaintiff in her role as a Nurse

Manager.

        21.    Therefore, Plaintiff was, within the meaning of the FLSA and PMWA, a non-

exempt employee of Defendant.

        22.    Plaintiff routinely performed a total of fifty (50) or more hours worked each work

week.

        23.    Despite being an hourly employee and working fifty (50) or more hours each

work week, Plaintiff would only be compensated for twenty-eight (28) hours per week.

        24.    For example, the week of August 9, 2020 through August 15, 2020, Plaintiff

worked approximately fifty (50) hours, but was not compensated at 1.5 times her regular rate of

pay for all hours worked over forty (40) hours.

        25.    Indeed, during the week of August 9, 2020, through August 15, 2020, despite

working approximately fifty (50) hours, Plaintiff was only compensated for twenty-eight (28) of

those fifty (50) hours worked.




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       26.     Critically, Plaintiff was not compensated at 1.5 times her regular rate of pay for

all hours worked over forty (40) hours for each work week

       27.     On or about September 10, 2020, Plaintiff made complaints to Defendant’s

Director of Nursing, Michael Maguire (“Mr. Maguire”), of not being compensated for all hours

worked each work week, and for not being compensated at 1.5 times her regular rate of pay for

all hours worked over forty (40) hours each work week.

       28.     Plaintiff was advised by Mr. Maguire that he would check with Jeff LNU (Last

Name Unknown), who was responsible for Defendant’s payroll.

       29.     Despite being told by Mr. Maguire that he would follow up with Jeff LNU to fix

Plaintiff’s payroll issue, Plaintiff’s payroll was never adjusted to accurately reflect her hours

worked.

       30.     Moreover, when Plaintiff contacted Defendant’s Human Resources Department to

request copies of her time records and paystubs, Defendant’s Human resources Department

refused to provide Plaintiff with copies of same.

       31.     Subsequent to her aforementioned complaints of Defendant failing to compensate

her for all hours worked and for all hours worked over forty (40) hours at 1.5 times her regular

rate of pay, Plaintiff was removed from Defendant’s schedule on or about September 10, 2020.

       32.     By failing to accurately track and compensate Plaintiff for all hours worked and

for all hours worked over forty (40) hours, Defendant has failed to pay Plaintiff overtime

compensation in violation of the FLSA/PMWA.

       33.     Additionally, by failing to accurately track and compensate Plaintiff for all hours

worked, Defendant has failed to pay Plaintiff “wages” as owed and due under the Pennsylvania

Wage Payment and Collection Law (“WPCL”).



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        34.      Defendant was aware that Plaintiff was working significant overtime hours

without properly receiving overtime compensation as aforesaid.

        35.      Plaintiff was compensated on an hourly basis and, as such, did not qualify for the

exemptions from overtime for executive, administrative, or professional employees under the

FLSA/PMWA.

        36.      In addition, there are no other exemptions under the FLSA and/or PMWA which

could arguably be applicable to Plaintiff.

        37.      Plaintiff was within the meaning of the FLSA and PMWA, a non-exempt

employee of Defendant and therefore entitled to overtime compensation for all hours worked

over forty (40) in a workweek.

        38.      As a result of Defendant’s aforesaid willful illegal actions, Plaintiff has suffered

damages.

                                        COUNT I
                            FAIR LABOR STANDARDS ACT
                                  29 U.S.C § 201, et seq.
                      FAILURE TO PAY OVERTIME COMPENSATION

        39.      Paragraphs 1 through 38 are hereby incorporated by reference as though the same

were fully set forth at length herein.

        40.      Pursuant to Section 206(b) of the FLSA, employees must be compensated for

every hour worked in a workweek.

        41.      Moreover, under Section 207(a)(1) of the FLSA, employees must be paid

overtime equal to 1.5 times the employee’s regular rate of pay, for all hours worked in excess of

forty (40) hours per week.

        42.      Defendant failed to accurately track and maintain records of all hours worked by

Plaintiff.

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       43.      As a result, Defendant failed to pay Plaintiff overtime compensation for all hours

worked over forty (40) in a workweek at 1.5 times his regular rate of pay.

       44.      The foregoing actions of Defendant and the policies and practices of Defendant

violate the FLSA.

       45.      Defendant’s actions were willful, not in good faith, and in reckless disregard of

clearly applicable FLSA provisions.

       46.      Defendant is liable to Plaintiff for actual damages, liquidated damages, and other

equitable relief, pursuant to 29 U.S.C. § 216(b), as well as reasonable attorneys’ fees, costs, and

expenses.

       WHEREFORE, Plaintiff prays for the following relief;

       A.       Adjudicating and declaring that Defendant’s conduct as set forth herein and above

is in violation of the FLSA;

       B.       Adjudicating and declaring that Defendant violated the FLSA by failing to pay

overtime compensation to Plaintiff for work performed in excess of forty (40) hours per week;

       C.       Awarding Plaintiff back pay wages and/or overtime wages in an amount

consistent with the FLSA;

       D.       Awarding Plaintiff liquidated damages in accordance with the FLSA;

       E.       Awarding Plaintiff reasonable attorneys’ fees and all costs of this action, to be

paid by Defendant, in accordance with the FLSA;

       F.       Awarding pre- and post-judgment interest and court costs as further allowed by

law; and

       G.       For all additional general and equitable relief to which Plaintiff may be entitled.




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                                     COUNT II
                     PENNSYLVANIA MINIMUM WAGE ACT OF 1968
                                 43 P.S. § 333, et seq.
                     FAILURE TO PAY OVERTIME COMPENSATION

       47.     Paragraphs 1 through 46 are hereby incorporated by reference as though the same

were fully set forth at length herein.

       48.     The Pennsylvania Minimum Wage Act provides that employers must pay certain

“minimum wages,” including overtime wages, to their employees. See 43 P.S. § 333.113.

       49.     The Pennsylvania Minimum Wage Act further provides that “employees shall be

paid for overtime not less than one- and one-half times the employee’s regular rate” for hours

worked in excess of forty (40) hours in a workweek. See 43 P.S. § 333.113.

       50.     By their actions alleged above, Defendant has violated the provisions of the

Pennsylvania Minimum Wage Act of 1968 by failing to properly pay overtime compensation and

for failing to properly pay Plaintiff for all hours worked.

       51.     As a result of Defendant’s unlawful acts, Plaintiff has been deprived of overtime

compensation in amounts to be determined at trial, and are entitled to recovery of such amounts,

together with interest, costs and attorney’s fees pursuant to Pennsylvania Minimum Wage Act of

1968, 43 P.S. § 333.113.

       WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

       A.      An award to Plaintiff for the amount of unpaid overtime compensation to which

she is entitled, including interest thereon, and penalties subject to proof;

       B.      An award to Plaintiff of reasonable attorneys’ fees and costs pursuant to the

Pennsylvania Minimum Wage Act; and

       C.      An award to Plaintiff for any other damages available to her under applicable

Pennsylvania law, and all such other relief as this Court may deem proper.

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                                    COUNT III
               PENNSYLVANIA WAGE PAYMENT AND COLLECTION LAW
                               43 P.S. § 260.1, et seq.
                            FAILURE TO PAY WAGES

         52.    Paragraphs 1 through 51 are hereby incorporated by reference as though the same

were fully set forth at length herein.

         53.    Plaintiff and Defendant entered into an employment contract whereby Plaintiff

would be compensated at a rate of $40.00 per hour for the performance of Nurse Manager duties.

         54.    At Defendant’s instruction, Plaintiff provided her services for Defendant as

requested, from July 15, 2020 to September 10, 2020, when she was removed from Defendant’s

schedule.

         55.    However, Defendant failed to pay Plaintiff her wages of $40.00 per hour for all

compensable work performed each work week.

         56.    The aforementioned hourly pay constitutes “wages” which are due and owing

under the Pennsylvania Wage Payment and Collection Law (“WPCL”).

         57.    Defendant unlawfully violated the WPCL by failing to pay Plaintiff her earned

wages.

         WHEREFORE, as a result of the unlawful conduct of Defendant, Plaintiff respectfully

requests that this Court enter judgment in her favor and against Defendant, and grant her the

maximum relief allowed by law, including, but not limited to:

         A.     An award to Plaintiff in an amount equal to her unpaid wages;

         B.     Liquidated damages of twenty-five percent (25%) under the WPCL;

         C.     An award to Plaintiff of reasonable attorneys’ fees and costs pursuant to the

WPCL;

         D.     Pre-judgment interest in an appropriate amount; and

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       E.      Such other and further relief as is just and equitable under the circumstances.

                                         COUNT IV
                                   BREACH OF CONTRACT
                                   FAILURE TO PAY WAGES

       58.     Paragraphs 1 through 57 are hereby incorporated by reference as though the same

were fully set forth at length herein.

       59.     Plaintiff and Defendant 2509 South Fourth Operating, LLC d/b/a St. Monica

Center entered into an employment contract whereby Plaintiff would be compensated at a rate of

$40.00 per hour for the performance of Nurse Manager duties.

       60.     At Defendant’s instruction, Plaintiff provided her services for Defendant as

requested, from July 15, 2020 to September 10, 2020, when she was removed from Defendant’s

schedule.

       61.     However, Defendant failed to pay Plaintiff her wages of $40.00 per hour for all

compensable work performed each work week.

       62.     Defendant breached the employment contract with Plaintiff by failing to pay Plaintiff

her earned wages.

       WHEREFORE, as a result of the unlawful conduct of Defendant, Plaintiff respectfully

requests that this Court enter judgment in her favor and against Defendant, and grant her the

maximum relief allowed by law, including, but not limited to:

       A.      An award to Plaintiff in an amount equal to her unpaid wages;

       B.      Pre-judgment interest in an appropriate amount; and

       C.      Such other and further relief as is just and equitable under the circumstances.




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                                         COUNT V
                               FAIR LABOR STANDARDS ACT
                                    29 U.S.C. § 201, et seq.
                                       RETALIATION

       63.     Paragraphs 1 through 62 are hereby incorporated by reference as though the same

were fully set forth at length herein.

       64.     Plaintiff engaged in protected activity under the FLSA by complaining of

Defendant’s unlawful business practices regarding unpaid overtime wages.

       65.     Shortly thereafter, Defendant retaliated against Plaintiff in the manner described

above, ultimately terminating Plaintiff’s employment for reasons which are clearly pretextual.

       66.     By reason of the foregoing, Defendant, through their agents, officers, servants,

and/or employees have violated the FLSA by discharging Plaintiff in retaliation for engaging in

protected activity under the FLSA.

       67.     As a result of Defendant’s deliberate, unlawful, and malicious acts as set forth

above, Plaintiff has suffered loss of employment, promotion benefits, earnings, earnings

potential, raises, other significant economic benefits, emotional pain and suffering, emotional

distress, and humiliation.

       WHEREFORE, as a result of the unlawful conduct of Defendant, Plaintiff respectfully

request that this Court enter judgment in her favor against Defendant, and grant her the

maximum relief allowed by law, including, but not limited to:

       A.      Back wages, bonuses, and compensatory damages in an amount to be determined

at trial, but no less than one hundred and fifty thousand dollars ($150,000.00);

       B.      Monetary compensation for the amounts expended by Plaintiff on health

insurance premiums;




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          C.     Punitive, liquidated, and/or exemplary damages in an amount to be determined at

trial, but sufficient to punish Defendant for their intentional, negligent, willful, wanton, and/or

malicious conduct;

          D.     Plaintiff’s costs, disbursements, and attorneys’ fees incurred in prosecuting this

matter;

          E.     Any verdict in favor of Plaintiff is to be molded by the Court to maximize the

financial recovery available to Plaintiff in light of the caps on certain damages set forth by

applicable federal law.

          F.     Pre-judgment interest in an appropriate amount;

          G.     Such other and further relief as is just and equitable under the circumstances.



                                            JURY DEMAND

          Plaintiff hereby demand a trial by jury as to all issues so triable.




                                                 Respectfully submitted,



                                                 MURPHY LAW GROUP, LLC


                                           By: /s/ Benjamin Salvina
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Dated: July 6, 2021                            Attorneys for Plaintiff

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                           DEMAND TO PRE\SERVE EVIDENCE

       The Defendant is hereby demanded to preserve all physical and electronic information

pertaining in any way to Plaintiff’s employment, to her potential claims and her claims to

damages, to any defenses to same, including, but not limited to, electronic data storage,

employment files, files, memos, job descriptions, text messages, e-mails, spread sheets, images,

cache memory, payroll records, paystubs, time records, time sheets and any other information

and/or data which may be relevant to any claim or defense in this litigation.




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           EXHIBIT A
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